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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


____________________________________
                                           )
Mario R. Lozano                            )
                                           )                        1:24-cv-11633-MJJ

               Plaintiff, v.        )
                                    )
           William C. Parks         )
                                    )
            Defendant
____________________________________)



                                       JUDGMENT

                                       June 23, 2025

Joun, D.J.


      In accordance with the Court’s Order entered and dated June 23 2025, it is hereby
ORDERED the Defendant's Motion to Dismiss is GRANTED.




                                                   /s/ Myong J. Joun
                                                   Myong J. Joun
                                                   United States District Judge
